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                                 EXHIBIT C
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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23417469
Notice of Service of Process                                                                            Date Processed: 06/29/2021

Primary Contact:           Brittany Zalich
                           Brown & Brown, Inc.
                           220 S Ridgewood Ave
                           Ste 180
                           Daytona Beach, FL 32114-4300

Electronic copy provided to:                   Lauren Clark
                                               Cheryl Gortmans
                                               Maria Leal

Entity:                                       Beecher Carlson Insurance Services, LLC
                                              Entity ID Number 3968236
Entity Served:                                Beecher Carlson Insurance Services, LLC
Title of Action:                              UBS Securities LLC vs. Highland Capital Management, L.P.
Matter Name/ID:                               UBS Securities LLC vs. Highland Capital Management, L.P. (11358394)
Document(s) Type:                             Subpoena
Nature of Action:                             Information/Appearance Request
Court/Agency:                                 U.S. Bankruptcy Court Northern District, TX
Case/Reference No:                            19-34054-sgj11
Jurisdiction Served:                          Vermont
Date Served on CSC:                           06/29/2021
Answer or Appearance Due:                     07/29/2021
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Martin Sosland
                                              469-680-5502

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                                                                                                0ch.e1_ 17:14:14   Page 3 of 11
B2570 (Poim 2570 — Subpoena to Produoe Documents, hiformatiou, or Objects or To Permit Iii.spection in a Bankruptey Case or Adversary Proceedinb) (12/15)


                                        UNITED ST'ATES BANK-RUPTCY C® V IZT
           NORTIIERN                                                          District of         TEXAS
hi re HIGHLAND CAPITAL MANAGEMENT, L.P.
                    Debtor
                                                                                       Case No. 19-34054-sgj 11
            (Complete if isscted ir2 an advet•saiy pi•oceediitg)
                                                                                       Chapter 11
UBS SECURITIES LLC AND UBS AG LONDON BRANCH
                    Plaintiff
                                          ,
                                                                                       Adv. Proc. No. 21-03020-s
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                  Defendant

          SUBPOENA 'I'O PROI)UCE I9OCUMEN'I'S, INFO1tMATION, OlZ OBJEC'I'S OR'I'O PERMrI'
          INSPECTIOl®1 OF P>EBEIiRISES IN ABANKRUP'I'CY CASE (OIt AI)VEIZSAI2Y PitOCEEI)ING)

           Beecher Carlson Insurance Services, LLC
G                                                           (Name of perso1a to tivhom the st.tbpoena is clirected)


    X Prodztction: YOU ARE CONIlVIAN19ED to produce at the time, date, and place set forth below the following
    ❑
    doctlments, electronically stored inforniation, or objects, and to permit inspection, copying, testing, or sampling of the
    material: See ATTACI;IMENT A

    PLACE *Butler Snow LLP                                                                                     DATE AND TIIvIE
          2911 Turtle Creek Blvd., Sttjte 1400                                                                    July 29, 2021 at 9:00 atn CT
          Dallas, Texas 75219
               *In licu of dclivery or hard-copy documcnts, you may cmail thc documcnts to Robcrt.Allcn(a)hv.com, Andreiv.Clubok@)hv.com, and Candicc.Carsonnbuticrsnow.com.

    ❑    Inspection ofPretnises: YOU ARE COIVMANd)EI) to permit entry onto the designated premises, land, or
    otlier property possessed or controlled by you at the tilue, date, and location set fortli below, so that the requesting party
    may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.,
    PLAC.E                                                                                  DATE AND TIME




            The followilig provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
    attached — Rule 45(c), relating to the place of compliance; Rule 45(d), relatnig to your protection as a person suUject to a
    subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of iiot
    doing so.

    Date: June 29, 2021
                                      CLERK OF COURT
                                                                                       OR
                                                                                                       a/ 1Vlat•tin Sosland
                                      Signatrn•e qfClerlc orDeprtty CIerL:                            Attoi•ney's signatact-e


    The name, address, email address, and telephone number of the attoniey representing (natne ofparti)
UBS Securities LLC and UBS AG Loncion Branch
                                         who issues or requests this subpoena, are:
                                                                                                                                               ✓vbutlersnow.com
    Martin Sosland, Butler Snow LLP, 2911 Turtle Creek Blvd., Snite 1400, Dallas, Texas 75219, TelePhone: (469) 650-5502, Bmail: martin.soslandr
                                     Notice to the person who issues or reduests this subpoena
    If tliis subpoena coinmands the production of documents, electronically stored inforniation, or tangible tliings, or the
    inspection of premises before trial, a notice aiid a copy of this subpoena must be served on each party before it is selved on
    the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 — Subpoana to Ptoduce Documents, Iiiformation, or Objects or To Permit Inspaction in a Banl:ruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Fffecfive 12/1/13)
                        (ntadc applicable in banlcruptcy cases by Rnle 9016, Federal Rules of Banliruptcy Proceclurc)

(c) Place of compliance.                                                                       (ii) disclosing an unretained expert's opinion or information that doe≤
                                                                                         not describe specific occun•ences in dispute and results fiom the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoc tta may connnand a                   study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                            (C) Specifying Conditions as an Alternati>>e. In the circtintstances
    l,A) within 100 miles of wliere llie person resides, is employed, or                 described in Rule 45(d)(3)(B), the court may, instead of quasliiug or
regularly transacts business in person; or                                               modifying a subpoena, order appearance or production under specified
    (B) witliin the state where the person resides, is eniployed, or regttlarly          conditions if the serving party:
tntnsacts bttsiness in person, if the person                                                    (i) sliows a substantial need for the testimony or tnaterial that cannot
      (i) is a party or a party's oflicer; or                                            be othenvrise met tNithout undue liardship; and
      (ii) is commanded to atteud a trial and would not incur substantial                       (ii) ensures that the subpoenaed person will be reasouably
expense.                                                                                 couipensated.

   (2) For OtherDiscovery. A subpoena may cotnmattd:                                     (e) Dutics in Responding to a Subpoena.
     (A) production of documents, or electronically stored iiifonriation, or
tltings at a place witliin 100 miles of where the person resides, is enrployed,            (1)ProducingDocmnentsorElectronicallyStoredLrfortnation. These
or regularly transacts business in person; and                                           procedttres apply to producing dociitnents or electroirically stored
     (B) inspection of premises, at tite premises to be inspecied.                       infomiation:
                                                                                             (A)Documeizts. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.                              documents nrust produce tlieni as iliey are kept in the ordinary course of
                                                                                         business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Erpense; Saizctions. A party or                       the demand.
attorney responsible for issuing and serving a subpoena niust take                           (B) Fot-rn for Producing Electronically Stored Inforrnatiort Atot
reasonable steps to avoid ittiposing undue burden or expense on a person                 Specifred. If a sttbpoetia does not specify a fonn for producing
subject to ilie subpoena. The court for the district wliere coutpliance is               electroiucally stored information, tlie person responding niust produce it in
required nntst enforce tliis duty and impose air appropriate sanction —                  a fonn or fornis in which it is ordinarily maintained or in a reasonably
wlrich may include lost eamings aitd reasonable attoniey's fees — on a                   usable fomi or fornis.
party or attorney tvlro fails to comply.                                                     (C) Electronically StoredlnformationProdztced in Only One Form. 1'he
                                                                                         person responding need not produce the sanie electronically stored
   (2) Command to Produce it'faterials or Permit lnspectioit.
                                                                                         infomiation in niore than one fomi.
     (A) Appearar7ce Not Required. A person commanded to produce                             (D)braccessible Electror:ically Stored It:formatiorz. 1'he person
docunicnts, eleetronically stored infortnation, or tangible tlrings, or to
                                                                                         responding need not provide discovery of electronically stored inforniation
permit the inspection of premises, need not appear in person at the place of             from sources that the person identifies as not reasotiably accessible because
production or inspection unless also conmianded to appear for a deposition,
                                                                                         of undue burden or cost. On ntotion to compel discovery or for a protective
hearing, or trial.                                                                       order, ilie person responding nntst sliow that the itifonnation is not
     (2} Objections. A person conunanded to produce docunietits or tangible              reasonably accessible because of undue bttt•den or cost. If that showing is
tliings or to pentiit inspection niay serve on the party or attorney designated          made, tlie cotirt may nonetlieless order discovery from such sources if ihe
in tlie subpoena a written objection to inspecting, copying, testing or                  requesting party shows good cause, considering the limitations of Rule
sainpling any or all of the materials or to inspecting the premises — or to              26(b)(2)(C). The court may speeify eonditions for the discovery.
producing electronieally stored information in tlie forni or forins requested.
Tlie objection must be served before the earlier of tlte time specified for
                                                                                            (2) ClaimtngPrivilege orProtection.
cotnpliance or 14 days after tlte subpoena is served. If an objection is niade,
                                                                                              (A) Information iVithheld. A person withholding subpoenaed
tlie follo«ring rules apply:                                                             infonnation uitder a claim that it is privileged or subject to protection as
       (i) At any time, on notice to the commanded person, the serving party             trial-preparation material must:
niay move the court for the district tvliere compliance is required for an
                                                                                                (i) exTressly niake tlie claim; and
order compelling production or inspection.
                                                                                                (ii) describe the nature of the withheld doeuments, eonununicatiqns,
       (ii) These acts niay be required only as directed in the order, and the           or langible iliings in a manner that, witlrout revealing infonnation itself
order must protect a person who is neither a party nor a party's ofticer froni           privileged or protected, will enable the parties to assess the claini.
significant expense resulting front conipliairce.
                                                                                              (B) Ittformation Produced. If inforniation produced in response to a
                                                                                         subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing orModif}~ing a Subpoena.                                                  preparation material, the person nial:ing tlie claini may notify any party that
    (A) YYken Required. Ott tintely motion, the court for the district where             received tlte infomiation of tite clann and tlie basis for it. After being
complittnce is reyuired nmst quash or modify a subpoena ihat:                            nolified, a party nrust promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable tinte to compl};                                   infotniatiotr and any copies it has; must not ttse or disolose the inforniation
      (ii) requires a persoti to contply beyond the geographical lintits                 until the claini is resolved; nutst take reasonable steps to retrieve tlte
specified in Rule 45(c);                                                                 itifonnation if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other proteoted matter, if no           protnptly present the inforniatiotr tuider seal to tlte court for the district
exceplion or waiver applies; or
                                                                                         wliere compliance is required for a deterniination of tlie claini. The person
      (iv) subjects a person to undue burden.
                                                                                         who produeed the infonnation must preserve tlie inforniation until tlie claun
    (B) YVhen Permitted To protect a person subject to or affected by a
                                                                                         is resolvecl.
subpoena, tlie court for the district wliere compliance is required may, on
niotion, quash or modify ilie subpoena if it requires:
                                                                                         (g) Contempt. T1ie court for the district whera coinpliance is recquired — and
      (i) disclosing a trade secret or other confidential researcli,
                                                                                         also, after a motioii is transferred, the issuing court —may hold in contempt
development, or conunercial infonnation; or
                                                                                         a person who, having been served, fails williout adequate excuse to obey
                                                                                         the subpoetia or an order related to it.


                                          For access to sttbpoena ntaterials, see Fed. R. Civ. P. 45(a) Committee Note (201_3)
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                                         ATTACHMENT A

I.        DEFINITI®NS

          The terms utilized herein shall have the meanings specified below. Each defined term shall

have the meaning ascribed to it regardless of whether the term is capitalized. Any term referencing

any business, legal, or governmental entity or association shall be deemed a reference to any and

all of its predecessors, successors, affiliates, and subsidiaries, as well as any and all of its past or

present officers, directors, partners, members, managers, employees, representatives, and agents.

Defined terms include the following:

     1.      "Comniunications" means the transmittal of information in all forms, including,

             without limitation, through meetings, in-person or telephone conversations, telegrams,

             facsimile or electronic mail        transmissions, correspondence, letters,        reports,

             memoranda, formal or informal statements, press releases, newspaper stories, records

             of conversations or messages, and similar modes. References to Communications with

             or by business entities shall be deemed to include all officers, directors, employees,

             personnel, agents, attorneys, accountants, consultants, independent contractors, or

             other representatives of such entities.

     2.      "You" or "Your" means Beecher Carlson, as well as any division or subsidiary thereof,

             and any of its attorneys, representatives, officers, directors, employees, consultants,

             advisors, affiliates, or anyone acting on Your or such subsidiary's belialf.

     3.      "Documents" means all documents and materials, whether written, graphic, or

             otherwise, including all originals, identical or non-identical copies, drafts, working

              papers, reproductions, or recordings of any kind, or other data compilations from which

             information caii be obtained or translated into reasonably usable form. Documents

             sha11 be construed broadly to encompass, without limitation, Communications,
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          notations made regarding any Communications, books, records, ledgers, journals,

          notebooks, calendars, minutes, agendas, notices, presentations, credit memoranda,

          promissory notes, sales slips, checks or cancelled checks, agreements, contracts,

          licenses, opinions, projections, spreadsheets, summaries, sworn or unsworn statements,

          recordings, drawings, photographs, computer data, or similar items, regardless of the

          form maintained.

    4.    "HCM" means Highland Capital Management, L.P., as well as any subsidiary thereof,

          and any of their attorneys, representatives, officers, directors, employees, consultants,

          advisors, affiliates, or anyone acting on HCM or such subsidiaiy's behalf.

    5.    "Multi-Strat" means Highland Multi Strategy Credit Fund, L.P., formerly known as

          Highland Credit Opportunities CDO, L.P., as well as any subsidiary thereof, and a.ny

          of their attorneys, representatives, officers, directors, employees, consultants, advisors,

          affiliates, or anyone acting on Muhi-Strat or such subsidiaiy's behalf.

    6.    "CDO Fund" means Highland CDO Opportunity Master Fund, L.P., as well as any

          subsidiary thereof, and any of their attorneys, representatives, officers, directors,

          employees, consultants, advisors, affiliates, or anyone acting on CDO Fund or such

          subsidiary's behalf.

    7.    "SOHC" means Highland Special Opportunities Holding Company, as well as any

          subsidiary thereof, and any of their attorneys, representatives, officers, directors,

          employees, consultants, advisors, affiliates, or anyone acting on SOHC or such

          subsidiary's behalf.




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   8.     "HFP" means Highland Financial Partners, L.P., as well as any subsidiary thereof, and

          any of their attorneys, representatives, officers, directors, employees, consultants,

          advisors, affiliates, or anyone acting on I-IFP or such subsidiai•y's belialf.

   9.     "Sentinel" nieans Sentinel Reinsurance, Ltd. and Sentinel Re Holdings, Ltd. as well as

          any subsidiary or affiliate thereof, and any of their attorneys, representatives, officers,

          directors, employees, consultants, advisors, affiliates, or anyone acting on Sentinel or

          such subsidiary or affiliate's behalf.

   10.    "Insurance Policy" means that certain Legal Liability Insurance Policy dated as of

          August l, 2017 between Sentinel Reinsurance, Ltd. as Insurer and Highland CDO

          Opportunity Master Fund, LP, Highland CDO Holding Company, and Highland

          Special Opportunities Holding Company as Insureds.

   11.    "Purchase Agreement" means that certain Purchase Agreement dated as of August 7,

          2017 between Sentinel Reinsurance, Ltd. as Purchaser and each of Highland CDO

          Opportunity Master Fund, L.P., Highland CDO Holding Company, and Highland

          Special Opportunities Holding Company as Sellers.

    12.   "Tax Memo" means that cei-tain June 30, 2018 Memorandum entitled "Tax

          Consequences of Sentinel Acquisition of HFP/CDO Opportunity Assets."

    13.   "Legal Action" means the legal action identified in the Schedule to the Insurance

          Policy, UBS Sectrr^ities LLC and UBS AG, London Brcrnch, n. Highlcrnd Capital

          Nlctncegement, L.P., Highland Specictl Oppor•tunities Holding Conzpctny, Highlctnd

          Finczncial Par-tne>•s, L.P., Highlctnd CDO Oppor•tunity Masler Ftrnd, L.P., Highlcrnd

          Cr•edit Opporttrnities CDO, L.P., crnd Strand Advisors, Inc., Case No. 650097/2009.




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       14.      As used herein, the terms "concerning," "regarding," and "relating to" mean all

                information, facts, or documents that directly, indirectly, or in any other way support,

                concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are

                otherwise connected with the subject matter about which the request is made.


 II.         I1olSTItiJCTI®leiS

       1.       The terms used herein are to be given their most expaiisive and inclusive interpretation

                unless otherwise expressly limited herein.       This includes, without limitation, the

                following:

                a.      construing "and" and "or" in the disjunctive or conjunctive as necessary to

                        make a recluest more inclusive;

                b.       construing the singular form of a word to include the plural and vice versa;

                C.      construing the terni "among" to mean between or among;

                d.      construing the term "any" to mean any, all, each, and every;

                e.       construing the masculine, feminine, or neutral pronouns to include other

                        genders; and

                f.       construing the present tense of a verb to include its past tense and vice versa.

       2.       In response to these requests, produce a11 Documents in Your actual or constructive

                possession, custody, or control, or in the actual or constructive possession, custody, or

                control of any of Your representatives, agents, employees, accountants, attorneys, or

                affiliates.

       3.       If any Docunients were formerly in Your possession, custody, or control and have been

                lost, destroyed, or otherwise disposed of, then furnish a list that identifies all such

                Documents and state for each such Document:                (a) the nature (e.g., letter,


                                                       4
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          memorandum, etc.), size, and subject matter of the Documents; (b) the persons who

         prepared or authored the Documents, and, if applicable, the persons to whom the

         Documents were sent; (c) the date when the Documents were prepared or transinitted;

          and (d) the date when the Documents were lost, destroyed, or otherwise disposed of,

          the reasons for such destruction or disposition, and the persons requesting and

          performing the destruction or disposition.

   4.     For each Document withheld on the ground of any privilege or immunity, furnish a list

          that identifies each such Document and state for each such Document: (a) the nature

          (e.g., letter, memorandum, etc.), size, and subject matter of the Documents; (b) the

          persons who prepared or authored the Documents, and, if applicable, the persons to

          whoin the Documents were sent; (c) each person having a copy of.the Documents and

          each person to whom a copy was sent or whom received a copy; (d) the date on which

          the Documents were prepared or transmitted; and (e) the nature of and basis for the

          privilege claimed.

    5.    If any portion of a Document is responsive to these requests, produce the entirety of

          the Document. Likewise, if only part of a responsive Document is protected by

          privilege or immunity, produce the Document with only the privileged matter redacted.

   6.     Produce all Documents as they are kept in the ordinary course of business, and when

          applicable, in the order they are found in a person's files. lf Documents are kept in a

          file with a file label, produce a copy of that label together with the Documents,

          Communications, or other materials in the file.

    7.    Produce all financial data in native format to the extent available.




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        8.      Unless otherwise specified herein, the period covered by these requests is January l,

               2016 to the present.


 III.        I20CU1d1Elv1TS TO BE PItOI)UCED

        1.      Communications between Sentinel, and any of You, HCM, CDO Fund, HFP, SOHC,

                Multi-Strat, James Dondero ("Dondero"), Isaac Leventon ("Leventon"), Matthew

                DiOrio ("DiOrio"), Jean Paul Sevilla ("Sevilla"), Mary Kathryn Irving               or

                Scott Ellington ("Ellington")

        2.      Documents or Communications concerning the Insurance Policy, including without

                limitation (i) any amendment thereto; (ii) board minutes or resolutions concerning the

                Insurance Policy; (iii) claims made on the Insurance Policy; (iv) Communications with

                the IRS concerning the Insurance Policy; and (v) any similar agreements.

        3.      Documents or Communications concerning the Purchase Agreement, including

                without limitation (i) any amendment thereto; (ii) transfer of assets pursuant to the

                Purchase Agreement; (iii) board minutes or resolutions concerning the Purchase

                Agreement; (iv) Communications with the IRS regarding any assets transferred

                pursuant to the Purchase Agreement; and (v) any similar agreements.

        4.      Documents or Communications concerning the Tax Memo, including without

                limitation (i) any amendinent thereto; (ii) board minutes or resolutions concerning the

                Tax Memo; (iii) documents relied on in preparing the Tax Memo; and (iv) any similar

                memoranda.

        5.      Documents or Communications sufficient to identify any assets transferred from HCM,

                CDO Fund, HFP, or SOHC to Sentinel, including without limitation all assets




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          transferred pursuant to the Insurance Policy or Purchase Agreement, and information

          sufficient to identify the value of any such transferred assets.

    6.    Documents or Communications relating to any subsequent transfer or dissipation by

          Sentinel of any assets previously transferred from HCM, SOHC, HFP, or CDO Fund.

    7.    Documents or Communications sufficient to identify all accounts used to transfer or

          receive any assets transferred pursuant to the Insurance Policy or Purchase Agreement.

    S.    Documents or Communications concerning the value of any assets transferred pursuant

          to the Insurance Policy or Purchase Agreement, including without limitation those

          assets listed in Schedule A to the Purchase Agreement, from January l, 2017 to the

          present, including documentation supporting the $105,647,679 value of those assets as

          listed in the Tax Memo.

    9.    Documents showing the organizational structure of Sentinel and its affiliates, including

          information identifying the relationship between Sentinel and any of Dondero,

          Leventon, DiOrio, Sevilla, Irving, or Ellington.

    10.   Documents or Communications sufficient to determine the identities of Setitinel's

          directors and officers between January 1, 2016 and the present.

    11.   Documents or Communications from any time period concerning the formation or

          acquisition of Sentinel.

    12.   Documents or Communications between Sentinel and any person concerning the Legal

          Action.




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